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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

JOHN BRUNO,                                                                            PLAINTIFF
ADC #115628

v.                                  4:20-cv-00904-KGB/JTK

WENDY KELLEY, et al.                                                                DEFENDANTS

                                              ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney (Dkt. No. 3).          Plaintiff John Bruno has filed a response

stating that he has never filed a lawsuit against any Arkansas Division of Correction employees

and did not agree for anyone to file a lawsuit on his behalf (Dkt. No. 4).             After careful

consideration of the proposed findings and recommendations, Mr. Bruno’s response, and a de novo

review of the record, the Court concludes that the proposed findings and recommendations should

be, and hereby are, adopted in their entirety as this Court’s findings in all respects (Dkt. No. 3).

The Court dismisses without prejudice Mr. Bruno’s complaint based on his statement that he did

not file the lawsuit or ask anyone to file the lawsuit on his behalf and for failure to pay the filing

fee or file a motion to proceed in forma pauperis within 30 days as directed by the Court (Dkt. No.

1).

       It is so ordered this 21st day of October, 2020.



                                                              _____________________________
                                                              Kristine G. Baker
                                                              United States District Judge
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